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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


THE HUMANE SOCIETY OF THE UNITED
STATES,

     Plaintiff,

                   v.                  Civil Action No. 18-0646 (TNM)

THE ANIMAL AND PLANT HEALTH
INSPECTION SERVICE, et al.

     Defendants.

            REPLY IN SUPPORT OF DEFENDANTS’ MOTION FOR
          SUMMARY JUDGMENT AND OPPOSITION TO PLAINTIFF’S
               CROSS-MOTION FOR SUMMARY JUDGMENT
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       Defendants Animal and Plant Health Inspection Service (“APHIS”) and United States

Department of Agriculture (“USDA”), respectfully submit this reply in support of Defendants’

Motion for Summary Judgment and in Opposition to Plaintiff’s Cross-Motion. As discussed

below, Plaintiff’s Opposition fails to rebut the showing made in Defendants’ motion that

Defendants fully complied with the FOIA. Accordingly, the Court should enter judgment in

Defendants’ favor and deny Plaintiff’s Cross-Motion.

   I. There is a Strong Privacy Interest in the Withheld Information

       A. The Licensees’ Business Activities Do Not Render Exemptions 6 and 7(c)
          Inapplicable

       Plaintiff opens with a broad challenge to Defendants’ ability to withhold under

Exemptions 6 or 7(c) any information relating to licensees. According to Plaintiff, individuals

who are licensees lack a cognizable privacy interest simply because they “have chosen to

conduct a federally regulated business activity out of their residence.” Opp’n at 12. Plaintiff’s

view, however, is contrary to the law of this Circuit. It is well-established that “[a]lthough

Exemption 6 ‘has not been extended to protect the privacy interests of businesses or

corporations,’” personal information contained in business records “may well qualify for

protection under Exemption 6.” Multi AG Media LLC v. Department of Agriculture, 515 F.3d

1224, 1228 (D.C. Cir. 2008). And courts reject “an overly technical distinction,” such as that

drawn by Plaintiff here, “between individuals acting in a purely private capacity and those acting

in an entrepreneurial capacity.” American Farm Bureau Federation v. U.S. EPA, 836 F.3d 963,

970 (8th Cir 2016).

       For example, in Multi AG, the USDA withheld under Exemption 6 information collected

from farmers about their farming operations. Id. at 1226-27. Though the D.C. Circuit ultimately
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ordered the information disclosed, it emphasized that the “business records . . . are covered by

Exemption 6.” Id. at 1228. “Exemption 6 was not limited ‘to a narrow class of files containing

only a discrete kind of personal information,’ but was ‘intended to cover detailed Government

records on an individual which can be identified as applying to that individual.’” Id. The D.C.

Circuit reasoned that “[w]ere [it] to deem an individual’s financial information unprotected by

Exemption 6 simply because it is found in a business record, a cardinal purpose of Exemption 6

would not be served.” Id. Accordingly, “Exemption 6 applies to financial information in

business records when the business is individually owned or closely held, and the records would

necessarily reveal at least a portion of the owner’s personal finances.” Id. at 1228-29 (internal

quotation marks omitted). The D.C. Circuit reaffirmed the Multi AG holding a year later in

Consumers’ Checkbook, Center for the Study of Servs. v. United States HHS, 554 F.3d 1046

(D.C. Cir. 2009), rejecting the plaintiff’s argument “that a physician does not have a privacy

interest in Medicare payments because the payments relate to business activities and not personal

finances.” Id. at 1051.

       The same reasoning applies here. All of the withholdings at issue pertain to licensees

who reside at the site of the business, and there is minimal distinction between the businesses

and the individuals who own and operate these businesses. Supplemental Declaration of Tonya

G. Woods (“Suppl. Woods Decl.”) ¶ 16. 1 The fact that the individuals happen to be engaged in

business does not eliminate their privacy interests, as courts routinely hold in similar situations.

For example, in American Farm Bureau, the Eighth Circuit ruled that Exemption 6 protected

against disclosure of personal information about owners of concentrated animal feeding


1
  Defendants have withdrawn most of its redactions in the records relating to Little Puppies
Online, which Defendants determined is not a homestead business, and produced a new set of
those records to Plaintiff on December 11, 2018. See Suppl. Woods Decl. ¶ 15.


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operations, even though the information sought related to actions taken in a business capacity.

836 F.3d at 970-71. The fact that the disclosure would invade the privacy of the owners, some of

whom resided on the site of their businesses, was sufficient to invoke the protections of

Exemption 6. Id. Other decisions are in accord. See, e.g., Beard v. Espy, No. 94-16748, 1995

U.S. App. LEXIS 38269, at *3 (9th Cir. Dec. 11, 1995) (Exemption 6 protected information

about small company where disclosure would affect the privacy interests of the individuals);

Providence Journal Co. v. FBI, 460 F. Supp. 778, 785 (D.R.I. 1978) (“While corporations have

no privacy, personal financial information is protected, including information about small

businesses when the individual and corporation are identical.”) rev’d on other grounds, 602 F.2d

1010 (1st Cir. 1979). 2

       None of the decisions cited by Plaintiff are to the contrary. For example, the court in

Washington Post Company v. United States Department of Agriculture, 943 F. Supp. 31 (D.D.C.

1996), did not suggest that Exemption 6 was inapplicable per se to the cotton subsidy recipients

in that case. Instead, disclosure was required only because there was no basis to conclude that

release of the “relatively generic information” could lead to unwarranted invasions of privacy.

Id. at 34. The idea that the cotton subsidy recipients “would be overwhelmed by mailings or

solicitations” was “implausible” where the recipients were already well equipped to handle such

solicitations. Id. at 35. Here, in contrast, there is a strong basis to expect that the individuals to




 Defendants have withdrawn most of its redactions in the records relating to Little Puppies
Online, which Defendants determined is not a homestead business, and produced a new set of
those records to Plaintiff on December 11, 2018. See Suppl. Woods Decl. ¶ 15.
uals in the way that the reports at issue in this case do, only the signature of the inspector and the
signature and title of the receiving official are redacted. Id. ¶ 15. In other words, Defendants
appropriately redact information when necessary to protect the privacy interests of individuals
and regularly release information pertaining to non-residential business entities.


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whom the withheld information pertains would be subject to harassment and other unwarranted

invasions of privacy were the withheld information released. See infra Section I(C).

        Likewise, Sims v. CIA, 642 F.2d 562 (D.C. Cir. 1980), another case cited by Plaintiff,

simply recognizes that Exemption 6 was not developed to protect “business judgements and

relationships.” Id. at 575. That decision does not hold that information relating to a closely-held

or homestead business necessarily falls outside the reach of Exemption 6 (or Exemption 7(c)).

Indeed, any such reading of Sims is foreclosed by more recent D.C. Circuit decisions, cited

above, holding otherwise. See Multi AG, 515 F.3d at 1228; Consumers’ Checkbook, 554 F.3d at

1051.

        Also, contrary to Plaintiff’s contention, Defendants’ position in this case is in no way

inconsistent with positions taken by the government in Jurewicz v. USDA, No. 12-5331 (D.C.

Cir.). See Opp’n at 12-13. On the contrary, there the government acknowledged that Exemption

6 could apply to the individuals who were USDA-licensees but determined that the specific

information sought in that case would reveal little about the licensees’ personal finances. See

Jurewicz, 2013 WL 4517953, at *11-12 (D.C. Cir Aug. 26, 2013).

        Plaintiff does not advance its position by citing decisions in the Fourth Amendment

context to argue that licensees “have no expectation of privacy in their business address and

regulated business activities.” Opp’n at 15-16. Plaintiff’s analogy is inapt. A reasonable

expectation of privacy under the Fourth Amendment relates to one’s expectation of privacy vis-

à-vis the government.     See United States v. Jones, 565 U.S. 400, 406 (2012) (a Fourth

Amendment “violation occurs when government officers violate a person’s ‘reasonable

expectation of privacy’”) (emphasis added); City of Ontario v. Quon, 560 U.S. 746, 755-56

(2010) (“The [Fourth] Amendment guarantees the privacy, dignity, and security of persons




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against certain arbitrary and invasive acts by officers of the Government”) (emphasis added). A

much different question is whether a person has a right to expect privacy vis-à-vis the general

public. In other words, the mere fact that a person might expect to be subject to search by the

government does not suggest that the person should expect that information collected through

that search will be disseminated publicly through FOIA or otherwise.

       For example, a government employee might not have a reasonable expectation of privacy

– for Fourth Amendment purposes – as to emails sent on his or her work email account, see

Quon, 560 U.S. at 756, but personal information in government emails is routinely withheld from

release under the FOIA. A federal employee would certainly expect, and reasonably so, that his

or her employer would withhold under Exemption 6 an email to his or her supervisor requesting

medical leave and describing a private health issue. Accordingly, the Court should not endorse

Plaintiff’s attempt to analogize to inapplicable Fourth Amendment decisions.          See Judicial

Watch, Inc. v. DOJ, 365 F.3d 1108, 1126 (D.C. Cir. 2004) (affirming the application of

Exemption 6 to pardon applications despite Fourth Amendment decisions holding that prison

inmates have no reasonable expectation of privacy).

       B. The Public Domain Exception Does Not Apply

       Plaintiff argues that the privacy concerns identified by Defendants are undermined

because APHIS previously posted unredacted copies of inspection records online. Opp’n at 16-

17. To successfully invoke the public-domain exception to the FOIA, however, a requester has

the burden of “pointing to specific information in the public domain that appears to duplicate that

being withheld.” Wolf v. CIA, 473 F.3d 370, 378 (D.C. Cir. 2007). Plaintiff has not even come

close to making this showing. Plaintiff argues only that “it is likely that some of the exact

records at issue in this case were previously available” or, alternatively, that Defendants




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previously released the same “types of records.” Opp’n at 17 (first emphasis added). Indeed,

Plaintiff would be hard-pressed to meet its burden because its case rests on the claim that the

previously-posted records are no longer freely available. See Compl. ¶ 51; see U.S. DOJ v.

Reporters Committee for Freedom of the Press, 489 U.S. 749, 764 (1989) (stating that if the

information sought “were ‘freely available,’ there would be no reason to invoke the FOIA to

obtain access”).

       To the extent that Plaintiff may be arguing that Defendants have waived individuals’

privacy rights for previously-posted materials, Plaintiff is incorrect. Contrary to Plaintiff’s

suggestion, “[i]ndividuals have a privacy interest even as to information that has been previously

disclosed publicly.” Showing Animals Respect and Kindness v. U.S. Department of Interior, 730

F.Supp.2d 180, 197 (D.D.C. 2010); see also, e.g., Sherman v. U.S. Dep’t of Army, 244 F.3d 357,

364 & n.12 (5th Cir. 2001) (emphasizing that agency cannot waive individual privacy rights

under FOIA, which may only be waived by individual whose informational privacy interests are

protected).

       Nor has Plaintiff shown that the licensees themselves waived their privacy rights.

Although Plaintiff insists that “many licensees openly share certain information,” Opp’n at 17,

only the three licensees to whom the requested records pertain are at issue in this case.

Accordingly, the behavior of “many licensees” generally is not relevant to Plaintiff’s claims

here. To be sure, Plaintiff also cites contact information on a website relating to one of the

licensees at issue here. Opp’n at 18 (discussing Natural Bridge Zoo). Even assuming that the

contact information on the website is the same as the information withheld by Defendants (which

Plaintiff has not established), courts recognize that “[a]n individual’s interest in controlling the

dissemination of information regarding personal matters does not dissolve simply because that




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information may be available to the public in some form.” American Farm, 836 F.3d at 971.

“Although [Plaintiff] might be able to find [some of] the information [it] seeks on a website,”

disclosure by Defendants would “substantially increase[] the public visibility and accessibility of

that information.” Id. at 972. “The agency’s release of the complete set of data on a silver

platter, so to speak, eliminates the need for requesters and others to scour different websites and

to pursue public records requests to create a comprehensive database of their own.” Id. Notably,

information may remain protected even where it was previously disclosed by the individual

whose privacy interests are at stake. See Horowitz v. Peace Corps, 428 F.3d 271, 280 (D.C. Cir.

2005) (“Even though the student did reveal his allegation to two Peace Corps workers . . . he still

has an interest in avoiding further dissemination of his identity.”).

       Next, Plaintiff argues that the public nature of exhibition facilities should limit their

owner’s privacy interests. Opp’n at 18-19. Although it is true that the public can observe some

of the conditions at an exhibition facility, APHIS inspectors have access to areas that the general

public does not and examine documents that the public never sees. See 9 C.F.R. § 2.126(a)-(b)

(describing access provided to inspectors).       Moreover, inspection reports are not simply a

collection of observations but rather they include professional opinions, among other

information, which goes beyond what the public may observe. First Woods Decl. ¶ 10. 3

       C. Licensees Will Likely Suffer Harassment if the Withheld Materials Are
          Disclosed

       Contrary to Plaintiff’s arguments, there are indeed substantial, non-speculative privacy

interests at stake in this case. See Opp’n at 20-22. In this Circuit, there is no question that “[t]he


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  Plaintiff (at 19) cites the conclusion in Calderon v. USDA, 236 F. Supp. 3d 96, 120 (D.D.C.
2017), that there was no significant privacy interest in names or business addresses but omits the
remainder of the quoted sentence, which found a privacy interest in other contact information –
“business email addresses and business phone numbers” because of “harassment concerns.”


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privacy interest of an individual in avoiding the unlimited disclosure of his or her name and

[home] address is significant.” Nat’l Ass’n of Retired Fed. Emps. v. Horner, 879 F.2d 873, 875

(D.C. Cir. 1989); see also Nat’l Ass’n of Home Builders v. Norton, 309 F.3d 26, 35 (D.C. Cir.

2002) (“the Supreme Court has evinced a reluctance in the FOIA context ‘to disparage the

privacy of the home, which is accorded special consideration in our Constitution, laws, and

traditions’”). Also, Plaintiff does not dispute that avoiding harassment and unwanted intrusions

is a cognizable privacy interest under the FOIA. Indeed, D.C. Circuit precedent holds firmly that

a disclosure of information may “invade someone’s privacy” for purposes of Exemption 6 if it

“invites unwanted intrusions.” Horner, 879 F.2d at 878. In Horner, “mailings and personnel

solicitations” were sufficiently intrusive to give rise to a substantial privacy interest. Id. at 876.

Likewise, there is a recognized privacy interest in avoiding “public scrutiny [and] harassing

phone calls to elicit sensitive information.” Island Film, S.A. v. Dep’t of the Treasury, 869 F.

Supp. 2d 123, 136 (D.D.C. June 26, 2012); see also Lepelletier v. Fed. Deposit Ins. Corp., 164

F.3d 37, 47 (D.C. Cir. 1999) (the D.C. Circuit “has been particularly concerned when the

information [for which Exemption 6 has been asserted] may be used for solicitation purposes”);

American Farm, 836 F.3d at 971 (protecting addresses and other identifying information about

owners of concentrated animal feeding operations due to the risk of harassment); Judicial Watch,

Inc. v. Dep’t of the Army, 402 F. Supp. 2d 241, 251 (D.D.C. 2005) (finding information properly

withheld pursuant to Exemption 6 where it was likely that the records would be published on the

Internet and that reporters would seek out the individuals mentioned therein for further

information, and stating “[t]his contact is the very type of privacy invasion that Exemption 6 is

designed to prevent”). Accordingly, there can be no serious dispute that, in this Circuit, concerns

about unwanted intrusions create a substantial privacy interest under Exemptions 6 and 7(c).




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       Defendants previously explained that there is a significant concern about harassment and

unwanted intrusions in this case.     See First Woods Decl. ¶¶ 49-51.        Plaintiff insists that

Defendants’ concerns are speculative. Opp’n at 20-22. On the contrary, they are well-grounded

in reports from licensees describing harassment to which they have been subjected by animal

rights groups and their supporters. The Supplemental Woods Declaration explains that APHIS is

aware of numerous such reports from licensees. For example, licensees described instances of

harassment such as strangers taking photos or video of their facilities and publishing them

online. Suppl. Woods Decl. ¶ 5. Some licensees felt physically intimidated by individuals who

oppose their business, especially licensees who live near their facilities. Id. Another licensee

complained that “our phone number is unlisted due to being a victim of harassment via 100’s of

harassing phone calls and bodily harm threats from an HSUS supporter, when they released a

previous number they obtained.” Id. ¶ 6.

       Another licensee reported that an animal rights group had “taken pictures of our vehicles

in the past and put them on web sites disclosing our license plate numbers and referring to us as

‘puppy mill haulers’ and more. Inviting mobs of picketers to locations of our customers while

deliveries are made.” Id. ¶ 7. The licensee also reported that “a delivery was being made to a

customer in New York where animal rights activists were awaiting our truck. They were filming

the delivery while screaming obscenities at our drivers.” Id. Yet another complained that “we

are being victimized and harassed by the animal rights organization” and that “they have made

threats to do harm to myself and animals.” Id. ¶ 8. According to another licensee, “I have been

victimized and subject to online bullying, threats, stalking and harassment” and letters were

written “to my employers in an attempt to damage my family reputation . . . and have pressured

our sponsor to drop our contract. With the constant bullying, threats and harassment I fear for the




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safety of my family and my bears.” Id. ¶ 11. Still others reported conduct such as animal rights

groups trespassing at their home and publishing names and addresses on-line. Id. ¶¶ 10-11. As

these accounts demonstrate, Defendants’ concerns about the potential for harassment are credible

and non-speculative. 4

       Plaintiff further contends that “Defendants have not linked any alleged activity to the

release of any of the licensees’ information.” Opp’n at 21. Plaintiff appears to believe that

harassment of licensees is only relevant if it occurred due to the release of an inspection report,

id. at 21-22, but Plaintiff is mistaken. The fact that many licensees have reported harassment

from animal rights groups supports Defendants’ belief that the licensees at issue here would be

harassed – at their homes – if the withheld information were released. Inspection reports contain

sensitive information such as “whether or not the inspector found any deficiencies during the

inspection” and “the nature of any deficiencies.” Opp’n at 6. If such information were released

along with the home addresses for these facilities, animal rights groups are likely to take similar

action against these licensees as they have taken against the other licensees who already have

been harassed. Indeed, the risk of harassment is present even if just the addresses are released,

because Plaintiff already believes that these licensees have “histories of repeat and serious

animal care deficiencies.” Opp’n at 26.

       Lastly, the government did not take a contrary position in Jurewicz, as Plaintiff

repeatedly contends. Opp’n at 19, 22. The information at issue in that case was different than


4
  In its campaign against puppy mills, Plaintiff itself has encouraged demonstrations against pet
stores, see An Advocate’s Guide to Stopping Puppy Mills, at 12-17 (available at
https://www.humanesociety.org/sites/default/files/docs/advocate-guide-stopping-puppy-
mills.pdf), and has taken photographs at dog breeding facilities, see Missouri’s Dirty Dozen, at 2,
6, 7, 9, 10, 12, 14-16 (available at https://www.humanesociety.org/sites/default/files/docs/report-
on-mos-dirty-dozen.pdf).




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the information at issue here, so the expected consequences from releasing the information were

also different. In Jurewicz, the information sought through FOIA included gross income, which

provided only limited information about the individual’s finances, and the number of animals

bought and sold in a given year, which was similar to information already publicly available.

See Jurewicz v. U.S. Dep’t of Agric., 741 F.3d 1326, 1332 (D.C. Cir. 2014). Accordingly, the

licensees’ concerns about harassment in that case “did not address the specific information at

issue, namely the number of dogs bought and sold and the gross revenue from regulated

activities, and that ‘the licensees’ association with the industry’ is public knowledge.” Id. at

1332-33. Here, in contrast, Defendants have reasonably concluded that releasing the information

sought, including addresses and the details of the inspection reports, would likely lead to

unwanted intrusions. 5

    II. Plaintiff Has Not Demonstrated a Significant Public Interest in Disclosure

       A. The Only Relevant Public Interest is Shedding Light on the Government’s
          Performance of Its Statutory Duties

       The only relevant public interest in FOIA cases is to “shed[] light on an agency’s

performance of its statutory duties” and thereby enable citizens to be informed about “what their

government is up to.” Multi Ag Media, 515 F.3d at 1231. Thus, information that does not reveal

the behavior of federal government employees or agencies “falls outside the ambit of the public

interest that the FOIA was enacted to serve.” Reporters Comm., 489 U.S. at 774-75; see also

Hopkins v. U.S. Dep’t of Hous. & Urban Dev., 929 F.2d 81, 88 (2d Cir. 1991) (explaining that

5
  Plaintiff’s suggestion that Defendants are judicially estopped from defending the withholdings
in this case is meritless. Opp’n at 19 & n.4. As discussed above, Defendants’ position is not
inconsistent with its position in Jurewicz and the two cases involve entirely different records
with different public and private interests at stake. In any event, it is “well settled that the
Government may not be estopped on the same terms as any other litigant.” Mingo Logan Coal
Co. v. U.S. EPA, 70 F. Supp. 3d 151, 174 (D.D.C. 2014) (citing Heckler v. Cmty. Health Servs.
of Crawford Cnty., 467 U.S. 51, 60 (1984)).


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disclosure of personal information having an “attenuated” relationship to government activity is

insufficient to overcome FOIA privacy exemptions). There must be a sufficient “nexus between

the requested information and the asserted public interest that would be advanced by disclosure.”

Nat’l Archives & Records Admin. v. Favish, 541 U.S. 157, 172-73 (2004). The burden of

establishing that disclosure would serve the public interest is on the requester, see Associated

Press v. U.S. Dep’t of Justice, 549 F.3d 62, 66 (D.D.C. 2016), and “[m]ere speculation about

hypothetical public benefits cannot outweigh a demonstrably significant invasion of privacy,”

U.S. Dep’t of State v. Ray, 502 U.S. 164, 178-79 (1991).

       Here, Plaintiff has asserted a “public interest in monitoring APHIS’s implementation of

and adherence to the AWA[.]” Opp’n at 23. The flaw in Plaintiff’s argument, however, is that

Plaintiff has not shown how release of the requested records would meaningfully advance that

public interest. See Roth v. Dep’t of Justice, 642 F.3d 1161, 1174-75 (D.C. Cir. 2011) (requester

has the burden to show “that the information he seeks ‘is likely to advance’” its asserted public

interest). Plaintiff has failed to meet its burden, for the multiple reasons discussed below.

       B. Plaintiff Has Not Shown How the Release of These Records Would Reveal
          Meaningful Information About the Government, as Opposed to the Licensees

       “FOIA’s central purpose is to ensure that the Government’s activities be opened to the

sharp eye of public scrutiny, not that information about private citizens that happens to be in the

warehouse of the Government be so disclosed.” U.S. DOJ v. Reporters Comm. for Freedom of

Press, 489 U.S. 749, 774 (1989). Accordingly, information that does not reveal anything about

“the character of a government agency or official” but rather bears only an “attenuated . . .

relationship to governmental activity” “does not outweigh individuals’ privacy interests in their

personal information.” Hopkins, 929 F.2d at 88.




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       Here, Plaintiff is seeking information gathered by the government about private citizens.

The inspection records at issue in this case do not reveal anything meaningful about “how USDA

implements the AWA” or “whether USDA is properly administering the statute,” which are the

public interests Plaintiff invokes. Opp’n at 27. For example, Plaintiff would not be able to read

an inspection report and determine that APHIS failed to record a deficiency at the inspected

facility. Unless Plaintiff was present at the facility on the same date as the inspector and had

access to the same areas and documents as the inspector, Plaintiff will not know what

deficiencies may or may not have been observable on that day. If an inspection report does not

list a particular deficiency, Plaintiff will not know if that is because APHIS failed to record an

existing deficiency or because the deficiency did not exist at the time of the inspection.

Plaintiff’s suggestion that it could compare the inspection reports of Natural Bridge Zoo to its

own “undercover investigation” is not plausible. Opp’n at 25. Plaintiff’s investigation occurred

in 2014, id., and yet this case concerns inspection reports beginning in 2015, so there is no basis

to believe that the specific conditions observed by Plaintiff on a particular day in 2014 were still

present when APHIS inspected in the years following. In any event, not even Plaintiff contends

that it can conduct an investigation of the other licensees at issue in this case, each of whom is a

breeder operating out of a private residence.

       Plaintiff also makes vague claims about using the reports to determine whether the

government “follow[ed] up” on deficiencies mentioned in previous reports. Opp’n at 26. But

Plaintiff fails to articulate how these reports would reveal such information. To the extent that a

deficiency was identified in a prior report and not identified in a subsequent report, Plaintiff will

not know whether APHIS failed to detect the deficiency or whether the deficiency had simply

been corrected by the time of the subsequent inspection.




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       A comparison of this case to Jurewicz proves the point. In that case, there was a public

interest in the records at issue (Forms 7003) precisely because “the public could gauge the

effectiveness of inspections by comparing data on Form 7003 with publicly available inspection

reports.” 741 F.3d at 1333; see also Opp’n at 32 (emphasizing this aspect of Jurewicz). In

contrast to Jurewicz, here, Plaintiff has not shown how the information in the inspection reports

could be compared to any other information to gauge the effectiveness of inspections or to

otherwise reveal anything informative about the government. Accordingly, Plaintiff has not

shown that the withheld information, if disclosed, would reveal information about the operations

of the federal government. See People for the Ethical Treatment of Animals v. NIH, 853 F. Supp.

2d 156, 158 (D.D.C. Apr. 10, 2012), affirmed in relevant part, 745 F.3d 545 (D.C. Cir. 2014)

(assuming arguendo that the Animal Welfare Act and Health Research Extension Acts establish

a public interest in knowing “whether those who conduct research on animals are treating them

humanely,” and finding that disclosure of identities of three named researchers would not serve

that interest because information would not reveal anything about the government’s own

conduct).

       C. Plaintiff Has Not Shown That Release of Records Pertaining to Three Particular
          Licensees Would Reflect Information About the Government Generally

       Even assuming for purposes of argument that the withheld information pertains to the

government, and not just the licensees, Plaintiff has still not established a public interest. The

records at issue relate to only three licensees among the more than 6,600 AWA licensees

nationwide. Suppl. Woods Decl. ¶ 12. As Plaintiff concedes, these are “records relating to

specific facilities” and Plaintiff argues that the records would show only “how APHIS chose to

perform its inspection duties with respect to this particular facility,” Opp’n at 25, 26 (emphasis

added), not how APHIS conducts its inspection duties generally. The distinction is fatal to



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Plaintiff’s argument. Courts routinely hold that the minimal amount of information revealed by

one or a few incidents does not shed enough light on an agency’s conduct to overcome the

subject’s privacy interest in his or her records. For example, in Oguaju v. United States, 288

F.3d 448 (D.C. Cir. 2002), the plaintiff sought access to records that he contended would show

prosecutorial misconduct in his criminal case. The D.C. Circuit rejected his claim because “even

if the records Oguaju seeks would reveal wrongdoing in his case, exposing a single, garden-

variety act of misconduct would not serve the FOIA’s purpose of showing “what the

Government is up to.“ Id. at 451, vacated on other grounds, 541 U.S. 970 (2004), reaffirmed on

remand, 378 F.3d 1115 (D.C. Cir. 2004); Boyd v. Crim. Div. of the U.S. Dep’t of Justice, 475

F.3d 381, 388 (D.C. Cir. 2007) (“a single instance of a Brady violation . . . would not suffice to

show a pattern of government wrongdoing as could overcome the significant privacy interest at

stake”). Likewise, the court in Hunt v. FBI, 972 F.2d 286 (9th Cir. 1992), acknowledged that

disclosure of the details of an investigation into the conduct of a particular FBI agent “could

reveal whether this particular investigation was properly conducted,” but emphasized that the

requested disclosure was focused “on one isolated investigation.” Id. at 288-89. The file sought

would “not shed any light on whether all such FBI investigations are comprehensive” and

therefore would not advance a relevant public interest. Id. at 289.

       Accordingly, “[i]t is difficult to imagine how the public could discern a great deal about

the [USDA’s] discharge of its duties through an evaluation of . . . reports pertaining only to”

three licensees. Cotton v. Adams, 798 F. Supp. 22, 26 n.9 (D.D.C. 1992); Berger v. IRS, 487 F.

Supp. 2d 482, 505 (D.N.J. 2007) (finding that disclosure of one IRS employee’s time sheets

would not serve the public interest because they would not meaningfully reflect on the agency

more generally).




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       D. Plaintiff’s Asserted Public Interest Is Satisfied by Already-Public Information

       Plaintiff’s assertion that release of the withheld records would advance the public interest

is further undermined because there is already extensive publicly available information

concerning APHIS’s inspection activities. Specifically, all final AWA inspection reports for the

past three years are available online for public access, all of which have the substantive

inspection information unredacted. First Woods Decl. ¶¶ 14, 17. 6 The USDA also publishes

various reports about its AWA inspections and enforcement activities. Suppl. Woods Decl. ¶ 28.

It is appropriate, when assessing the public interest side of the balancing equation, to consider

“the extent to which there are alternative sources of information available that could serve the

public interest in disclosure.” DOD v. FLRA, 964 F.2d 26, 29-30 (D.C. Cir. 1992); Forest

Guardians v. FEMA, 410 F.3d 1214, 1219 & n.3 (10th Cir. 2005) (finding no public interest in a

request to FEMA for “electronic map files” showing the locations of federally insured structures,

because the electronic files were “merely cumulative of the information” that agency already had

released in “hard copies” of the maps and because the requester already had a “plethora of

information” with which “to evaluate FEMA’s activities”); Forest Serv. Employees for Envtl.

Ethics v. U.S. Forest Serv., 524 F.3d 1021, 1028 (9th Cir. 2008) (“As a result of the substantial

information already in the public domain, we must conclude that the release of the identities of

the employees who participated in the Forest Service’s response to the Cramer Fire would not

appreciably further the public’s important interest in monitoring the agency’s performance

during that tragic event.”); Office of the Capital Collateral Counsel v. DOJ, 331 F.3d 799, 804

(11th Cir. 2003) (finding that there is substantial public information available about AUSA’s


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  Reports pertaining to non-residential businesses have very minimal redactions. Id. ¶ 15. In
reports pertaining to individuals or homestead businesses, identifying information is redacted.
Id. ¶ 16.


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misconduct and that therefore any “public interest in knowing how DOJ responded to [AUSA’s]

misconduct can be satisfied by this other public information”).

       In other words, the relevant question here is whether, given the extensive information that

is already available to the public, the possible incremental benefit from the release of the

withheld information outweighs the privacy interests at stake. See Ray, 502 U.S. at 178 (finding

the public interest in disclosure to have been satisfied by redacted documents that had already

been released). Plaintiff has not shown that any incremental release of information about APHIS

inspections, beyond that already publicly known, would reveal significant information the

operations and activities of the federal government.

       Plaintiff insists that the publicly-available records are insufficient to satisfy its needs,

claiming that various pieces of information cannot be known “[w]ithout linking an inspection

report to a particular facility.” Opp’n at 24-25. Plaintiff’s argument, however, goes far beyond

the particular records at issue here and, instead, essentially makes a broad challenge to

Defendants’ decision not to post unredacted inspection records online. 7 For example, Plaintiff

argues that the publicly-available records do not allow it to discern “whether APHIS has ever

inspected a specific facility, or has gone years without inspecting a facility.” Id. at 24 (emphasis

in original). That argument has no relevance to this case, because Plaintiff already knows, by

virtue of the records released in this case, that the particular facilities at issue were inspected and

in which years they were inspected. This is because the released inspection reports leave the

facility and the year of the inspection unredacted. Suppl. Woods Decl. ¶ 18. Likewise, Plaintiff

argues that it cannot determine “whether APHIS has conducted the annual inspections that are


7
 That decision already has been upheld by another court, see Animal Legal Def. Fund v. United
States Dep’t of Agric., No. 17-cv-00949, 2017 U.S. Dist. LEXIS 83466 (N.D. Cal. May 31,
2017), and is not at issue in this case.


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required for certain types of facilities under the AWA.” Opp’n at 24. Plaintiff is referring to

research facilities that are required to be inspected on an annual basis. 7 U.S.C. ¶ 2146. But

none of the facilities at issue here are research facilities, so Plaintiff’s argument is inapplicable to

this case. Suppl. Woods Decl. ¶ 25. Again, Plaintiff has failed to confine its arguments to what

the particular records at issue here would reveal if they were released. See Judicial Watch, Inc.

v. Nat’l Archives & Records Admin., 876 F.3d 346, 351 (D.C. Cir. 2017) (“a party seeking

disclosure of investigative materials must still ‘adequately support[] its ‘public interest’ claim

with respect to the specific information being withheld.” (emphasis in original)). As Plaintiff

fails to accept, this is not a case about the adequacy of Defendants’ online database, but rather it

is a case about specific documents pertaining to three particular licensees.

       Plaintiff also contends that without linking an inspection report to a particular facility, it

cannot determine “whether and how APHIS is applying the AWA uniformly or disparately

across different facilities.” Opp’n at 24. But Plaintiff has not shown how records about three

specific facilities could possibly reveal anything meaningful about such broad subjects. In any

event, the public can already review inspection records online to determine if inspections are

consistent across different locations. Suppl. Woods Decl. ¶¶ 19-24. It is not necessary to know

the name of each facility to do that. Likewise, the public can already determine “whether and

how APHIS is addressing repeat violations across inspection reports for a single facility.” Opp’n

at 24-25. The online search tool allows the public to view all inspection records over the past

three years for a single facility (with identifying information about the facility redacted, in the

case of homestead businesses or individuals). Suppl. Woods Decl. ¶ 19. Users can track

documented deficiencies over time for a single facility to see whether and how repeat

deficiencies are addressed. Id. It is not necessary to know the name of the facility in order to do




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that. Likewise, the search tool also allows the public to determine if “APHIS is timely re-

inspecting facilities to ensure that deficiencies noted on prior inspection reports are addressed by

noted ‘correct by’ dates” and “whether, in the case or ‘no access’ . . . USDA ever returned and

gained access.” Opp’n at 25. A user has to simply choose a facility and view the reports

associated with that facility.

        Plaintiff also claims that the online records do not permit it to determine “whether APHIS

conducted an investigation after a complaint was submitted regarding a specific facility or an

incident was reported in the press,” Opp’n at 25, but AWA inspection records do not typically

reveal whether an inspection was conducted in response to a complaint. Suppl. Woods Decl. ¶

27. Also, none of the records at issue are related to the complaint process. Id. Therefore, the

release of the withholdings would not reveal whether APHIS conducted an investigation after a

complaint was submitted or an incident was reported. In any event, information about the results

of complaints submitted to APHIS is available through other means. Id.

        Plaintiff also tries to imply a public interest in the records sought by arguing that

“Plaintiff has used the necessary link between individual inspection reports and specific facilities

to petition USDA for the revocation of licenses of chronically non-compliant dealers and

exhibitors, as well as to petition USDA for regulatory changes to improve animal welfare.”

Opp’n at 26-27 (arguing that “[a]ccess to inspection reports, tied to those individual facilities,

was critical to drafting these petitions”); see also Pl’s Statement of Material Facts as to Which

There is No Genuine Dispute, ECF No. 20, at Statements 58-59 (claiming that Plaintiff has

“submitted petitions for license revocation” based on information found in inspection reports and

has used such information “to petition the government for regulatory change”). But Plaintiff’s

lobbying activities arising from the release of information do not count towards the public




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interest. The D.C. Circuit has already rejected an argument that a public interest was shown

because disclosure of information would aid a plaintiff “in its lobbying activities, and thus result

in the passage of laws that would benefit the public in general[.]” Horner, 879 F.3d at 879. For

purposes of the FOIA, “these considerations are not relevant; they involve not ‘what the[]

Government is up to,’ but only what it might be up to if [Plaintiff] had its druthers.” Id.

Plaintiff’s argument betrays that what it is really seeking in this case is information about the

licensees, which Plaintiff will use in its lobbying efforts, not information about the government.

       Plaintiff further contends that disclosure of certificate and customer identification

numbers would allow Plaintiff to track a licensee across multiple facilities. Opp’n at 29-30. But,

as discussed above, Plaintiff has not shown a public interest in the ability to tie inspection reports

to a particular licensee. Moreover, Plaintiff’s assertion that the records might show that “two

facilities with different certificate numbers have the same address,” Opp’n at 30, is entirely

speculative. See Ray, 502 U.S. at 179 (“[M]ere speculation about hypothetical public benefits

cannot outweigh a demonstrably significant invasion of privacy.”); Robbins v. U.S. HHS, 1996

U.S. Dist. LEXIS 22754, at *14-16 (N.D. Ga. Aug. 12, 1996) (the possibility that release of

names and addresses of rejected social security disability claimants could ultimately reveal the

agency’s wrongful denial was “too attenuated to outweigh the significant invasion of privacy”).

       Plaintiff also has not shown that additional information should be released from

veterinary records, which are sometimes collected from licensees during inspections. Opp’n at

30. Plaintiff’s arguments ignore the fact that Defendants released much of the information

contained in the veterinary records, including some of the specific information Plaintiff argues

should be disclosed. For example, Plaintiff argues that information about “vaccinations” should

be disclosed, but Defendants did disclose that information. Suppl. Woods Decl. ¶ 29 & Ex. 7.




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Defendants appropriately withheld portions of the veterinary records when those portions were

referred to directly in the inspection reports as noncompliant items. See, e.g., Vaughn Index,

First Woods Decl., Ex. 16 at 2. Releasing that information would allow Plaintiff to connect the

information in the veterinary records with the reports available through the Animal Care Public

Search Tool. Plaintiff would learn the identities of the licensees that are currently redacted in the

online versions of the reports, effectively creating an unredacted version of the record.

       Defendants also withheld from the veterinary records certain personal information about

third-party veterinarians. See, e.g., Vaughn Index, at 2. Of this information, Plaintiff requests

disclosure of the names of the veterinarians. Opp’n at 31. The veterinarians maintain a privacy

interest against disclosure of their names, which would likely lead to harassment based on their

association with a particular facility. Plaintiff’s asserted public interest in evaluating whether

APHIS is checking whether veterinarians are licensed would not be advanced by disclosure

because licensing information is not contained in the records.           In any event, Plaintiff’s

speculation that some veterinarians might be unlicensed is insufficient to meet Plaintiff’s burden.

See Ray, 502 U.S. at 179 (“[M]ere speculation about hypothetical public benefits cannot

outweigh a demonstrably significant invasion of privacy.”).

       Lastly, Plaintiff attempts to analogize to the District Court’s decision in Jurewicz, where

that court discussed the asserted need to use a dealer name or address to cross-reference

information in the released records with the agency database. Opp’n at 31 (citing 891 F. Supp.

2d at 160-61). But that case involved different records, different information, and different

asserted public interests. In this case, Plaintiff has not shown that any public interest would be

advanced by cross-referencing the records at issue with the information available online, as

discussed above.




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       E. Any Conceivable Public Interest is Outweighed by the Privacy Interests at Stake

       Even if the Court were to find some public interest in the disclosure of these records,

disclosure still would not be appropriate. The Court must weigh protection of the privacy

interests at stake “against the public interest[, if any,] in the release of the records.” Multi Ag

Media, 515 F.3d at 1230 (quoting Horner, 879 F.2d at 874). Here, the individuals to whom these

records pertain have a strong privacy interest against disclosure of information such as their

home addresses and the detailed descriptions of the government’s findings concerning their

professional activities. There is a well-supported basis to believe that these individuals will be

subjected to harassment by Plaintiff and other similar organizations if the withheld information is

released. Against this strong privacy interest, Plaintiff’s asserted public interest falls far short of

requiring disclosure. The information at issue pertains only to three particular licensees and does

not reflect “what the Government is up to” generally. Oguaju, 288 F.3d at 451. Moreover, there

is already extensive information about AWA inspections available for public consumption,

including the full substance of all inspection reports over the past three years, some in an

anonymized version to protect privacy. The bottom line is that the public interest would not be

meaningfully advanced by connecting specific licensees to particular reports, and Plaintiff’s

efforts to show otherwise fail to address the specific records at issue and, ultimately, fall far short

of the mark.

       In circumstances similar to these, where plaintiffs argued that disclosure of personal

information serves a public interest in monitoring agency compliance with federal statutes,

courts have not hesitated to take the side of privacy rights. For example, in Painting & Drywall

Work Preservation Fund v. Department of Housing & Urban Development, 936 F.2d 1300 (D.C.

Cir. 1991), the plaintiff sought payroll-records relating to three government-assisted construction




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projects. Id. at 1301. The government withheld personal information, including names and

home addresses, that would have allowed the plaintiff to determine the earnings of individual

employees. Id. Although the plaintiff argued that disclosure was necessary to monitor whether

the government was enforcing labor statutes, that interest was outweighed by the privacy

interests, especially because there was an alternative way to access the information, namely, by

engaging in face-to-face conversations with workers at worksites. Id. at 1303. Here, too, the

very substantial privacy interests at stake outweigh the asserted public interest, particularly given

that the public already has access to extensive information to allow them to monitor Defendants’

enforcement of the AWA.

       The cases cited by Plaintiff (at 32-33) do not suggest otherwise. In Sun-Sentinel Co. v.

United States Dep’t of Homeland Sec., 431 F. Supp. 2d 1258 (S.D. Fla. 2006), the court denied

the plaintiff access to names of individuals who had received relief from FEMA because the

names would not provide sufficient information about the operations of FEMA. Id. at 1271-72.

Although the court ordered disclosure of addresses, the addresses went “to the heart of whether

FEMA improperly disbursed funds” and there was no suggestion that the individuals would be

subjected to harassment if the addresses were released. Id. at 1271. Next, the court in News-

Press v. U.S. Dep’t of Homeland Security, 489 F.3d 1173 (11th Cir. 2007), did “not deny that a

privacy interest against disclosure may exist” in that case. Id. at 1204 n.33. It merely held that,

as to address information sought by the plaintiffs, the privacy interest at stake was outweighed by

the public interest in disclosure under the unique facts of that case. Id. More importantly, the

court affirmed the application of Exemption 6 as it pertained to the names of individuals because

of the risk of intrusions by “commercial solicitors, members of the press seeking quotes, and

others[.]” Id. at 1205. Accordingly, News-Press actually supports Defendants’ position that




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these types of intrusions are substantial and are protected against by Exemption 6 (and

Exemption 7(c)).

       Next, unlike here, the privacy interest in Norton was “relatively weak” because the

information at issue merely disclosed “that a pygmy owl has been sighted on an individual’s

property” but did not otherwise “disclose any information about that individual.” 309 F.3d at 36.

The Court in Norton contrasted that case with Horner, where “the requested disclosure would

have revealed not only names and addresses but also the additional fact that the individuals on

the list were retired or disabled and received assistance from the federal government.” Id. This

case is more like Horner, because Plaintiff is seeking the release of addresses in conjunction with

sensitive information obtained through the course of a government inspection.          Lastly, the

information at issue in Riverkeeper v. FERC, 650 F. Supp. 2d 1121 (D. Or. 2009), was as benign

as the information in Norton.     The plaintiff sought “mailing lists showing the names and

addresses of landowners notified of four public scoping hearings about a proposed 220-mile

natural gas pipeline” and the agency had “not identified any harm to the landowners resulting

from disclosure.” 650 F. Supp. 2d at 1122, 1129.

   III. The Records At Issue Were Compiled for Law Enforcement Purposes

       Contrary to Plaintiff’s arguments (at 34-37), the records at issue here were indeed

compiled for law enforcement purposes and are therefore subject to Exemption 7. The D.C.

Circuit has explained that the standard in “this circuit has long emphasized that the focus is on

how and under what circumstances the requested files were compiled” and “whether the files

sought relate to anything that can fairly be characterized as an enforcement proceeding,” adding

that if the activity “is for a possible violation of law, then the inquiry is for law enforcement

purposes.” Jefferson v. DOJ, 284 F.3d 172, 176-77 (D.C. Cir. 2002). “What the Government is




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required to show is that the investigatory files were compiled for adjudicative or enforcement

purposes.” Rural Housing All. v. U.S. Dep’t of Agric., 498 F.2d 73, 80 (D.C. Cir. 1974). “If an

investigatory file is compiled for the purpose of determining whether a law enforcement

proceeding should be brought . . . and against whom, then, whether the agency concludes that

proceedings are necessary or not, the agency may utilize exemption 7 to protect its investigatory

process and sources.” Rural Housing, 498 F.2d at 82 n.48.

       This standard is met in this case. As explained in the First Woods Declaration, APHIS

uses inspections to administer and enforce compliance with the AWA. Woods Decl. ¶ 70.

Inspection reports document noncompliant conditions that necessitate investigative and

enforcement activities and are important records used during the course of enforcement actions.

Id. ¶¶ 70-71. Because an inspection is a key part of an inquiry to identify potential violations of

the AWA, it can “fairly be characterized as an enforcement proceeding.” Jefferson, 284 F.3d at

176-77.    Inspection reports are “compiled for the purpose of determining whether a law

enforcement proceeding should be brought . . . and against whom,” and are therefore subject to

Exemption 7. Rural Housing, 498 F.2d at 82 n.48. The inspections are conducted of particular

licensees and they evaluate whether there are any AWA deficiencies. See Pratt v. Webster, 673

F.2d 408, 420 (D.C. Cir. 1982). Moreover, the inspections could result in civil or criminal

sanctions. 7 U.S.C. § 2149; see Jefferson, 284 F.3d at 177.

       Plaintiff discusses cases in the context of criminal investigations, presumably in an

attempt to suggest that Exemption 7 applies only to criminal law enforcement records. Opp’n at

35. But Plaintiff is incorrect. It is very well-established that Exemption 7 “‘covers investigatory

files related to enforcement of all kinds of laws,’ including those involving ‘adjudicative

proceedings’ and administrative proceedings.” Schoenman v. FBI, 573 F. Supp. 2d 119, 146




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(D.D.C. 2008) (quoting Jefferson, 284 F.3d at 178); see also Envtl. Prot. Servs. v. U.S. EPA, 364

F. Supp. 2d 575, 588 (N.D.W.Va. 2005) (finding that records compiled in administrative

proceeding satisfy law enforcement threshold, because Exemption 7 applies to “enforcement of

civil laws, such as regulations”); McErlean v. U.S. DOJ, No. 97-7831, 1999 U.S. Dist. LEXIS

15544, at *24-25 (S.D.N.Y. Sep. 30, 1999) (stating that “it is well-settled that documents

compiled by the INS in connection with the administrative proceedings authorized by the

Immigration and Naturalization Act are documents compiled for ‘law enforcement purposes’“).

       Accordingly, the records at issue here are subject to Exemption 7.

   IV. Defendant Released All Reasonably Segregable Information

       Defendants conducted a meticulous line-by-line review of the records at issue and

carefully applied redactions to enable at least a portion of every document to be released. First

Woods Decl. ¶ 75. Only the videos were withheld in full. Id. ¶ 64. Nevertheless, Plaintiff

remains dissatisfied, insisting that Defendants have failed to establish that they released all

reasonably segregable information. Opp’n at 37-41.

       Defendants, however, have met their burden to show that all reasonably segregable

information was released. Defendants submitted a declaration attesting to the relevant facts and

filed a detailed Vaughn index describing every document at issue and describing in detail the

bases for the withholdings. Courts routinely find segregability obligations satisfied based on

similar statements to those presented here. See, e.g., Touarsi v. United States DOJ, 78 F. Supp.

3d 332 (D.D.C. 2015) (noting that “similarly detailed declarations providing that an agency

conducted a page-by-page search are regularly accepted in this Circuit.”); Dillon v. DOJ, 102 F.

Supp. 3d 272, 298 (D.D.C. 2015) (concluding that agency had met its obligation where

declaration attested that “no pages were withheld in full on the basis of a FOIA exemption and




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the remaining responsive pages were released with all reasonably segregable, non-exempt

information”); Blackwell v. FBI, 680 F. Supp. 2d 79, 96 (D.D.C. 2010) (finding segregability

requirement satisfied where the agency’s declaration explained that “documents were processed

to achieve maximum disclosure” and “further disclosure or attempt to describe information

withheld would identify information protected by one of the FOIA exemptions”); Adionser v.

DOJ, 811 F. Supp. 2d 284, 295 (D.D.C. 2011); Patino-Restrepo v. Department of Justice, 246 F.

Supp. 3d 233, 250 (D.D.C. 2017).

       Defendants are “entitled to a presumption that [they] complied with the obligation to

disclose reasonable segregable material.” DiBacco v. United States Dep’t of the Army, 983 F.

Supp. 2d 44, 66 (D.D.C. 2013). Plaintiff must therefore “offer . . . evidence to rebut [the

agencies’] averment[s].” Id. Plaintiff has not done so. Instead, Plaintiff references various

entries in Defendants’ Vaughn index to try to show that additional material could be segregated,

but Plaintiff has misunderstood the withholdings in those records. Opp’n at 38. For example,

Plaintiff quotes the following partial entry in the Vaughn index: “The photos at Bates 000676-

677, 000695 and 000700-701 contain images of forms that include the names and signatures of

third party veterinarians.” Opp’n at 38 (quoting Vaughn Index at 14). Plaintiff questions why

Defendants redacted the entirety of the photo and photo descriptions on those pages (while

leaving other information unredacted). Id. Plaintiff appears to assume that Defendant should

have only redacted the names and signatures while leaving the remainder of the document

unredacted. But even a cursory glance at the Vaughn index reveals Plaintiff’s mistake. The

Vaughn index provides multiple reasons why those pages contain redactions, and the fact that

they contain names and signatures is just one of those reasons. For instance, the index explains

that “APHIS redacted the contents of the photo and the photo description” because “[t]he photos




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reference noncompliant items.” Vaughn Index at 14. Accordingly, the documents contain other

exempt material, beyond simply the names and signatures, which prevented the agency from

releasing additional information.

       The same response applies to Plaintiff’s discussion of other records, such as records

containing photos of members of the public.        Opp’n at 38 (citing Vaughn Index at 19).

Defendant could not simply redact the portion of the document showing the image of members

of the public, and leave the remainder of the document unredacted. As the Vaughn Index states,

“APHIS redacted the contents of the photo and the photo description” because “[t]he photos

reference noncompliant items.” Vaughn Index at 19. Accordingly, Plaintiff’s argument about

segregability is based on a misreading of the Vaughn Index. Far from showing any failure to

meet their obligations, the pages cited by Plaintiff actually demonstrate that Defendants did

comply with their duty to segregate. Instead of withholding these pages in full, Defendants

painstakingly applied redactions and released all non-exempt information, including the name of

the photographer, the year of the inspection, and the certificate number. See Opp’n, Declaration

of Debra L. Leahy, ECF No. 20-1, Ex. M.

       Indeed, Plaintiff concedes that Defendants applied narrow and targeted redactions to the

records by, for example, “redacting only veterinarian signatures” in certain records or

withholding only “a small box for an image of an individual” in a photo. Opp’n at 39. Plaintiff

insists that “Defendants have offered no explanation for why the photographs released at Bates

000704 and 705 did not require the redaction of the contents and description of the photographs

whereas all other photographs and facilities did require such redaction.” Id. Of course, the

explanation is provided right in the Vaughn Index, which explains the reasons why certain




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photos were redacted in full, as discussed above. The photos at Bates 000704 and 705 do not

document noncompliances, as the other photos discussed above do. See Vaughn Index at 15.

       Plaintiff’s belief that there may be portions of the photos that can be segregated is pure

speculation. “In order to be considered reasonably segregable, the information, if disclosed,

must have some meaning.” Bartko v. U.S. DOJ, 128 F. Supp. 3d 62, 74 (D.D.C. 2015), rev’d on

other grounds, 898 F.3d 51 (D.C. Cir. 2018), citing Mead Data Ctr., Inc. v. Dep’t of the Air

Force, 566 F.2d 242, 261 n.55 (D.C. Cir. 1977) (“A court may decline to order an agency to

commit significant time and resources to the separation of disjointed words, phrases or even

sentences which taken separately or together have minimal or no information content.”). While,

in theory, Defendants could unredact small, meaningless portions of the photos for release to

Plaintiff, such portions would have no informational value and are not reasonably segregable.

       Lastly, Plaintiff’s cited authorities do not undermine Defendant’s position. In Mead

Data, unlike here, the documents appeared to “contain information which is not exempt.” 566

F.2d at 259; id. at 260 (explaining that the government’s position rested “on overly broad

interpretations of the attorney-client and deliberative process privileges”). Moreover, in Mead,

the documents were withheld in full, id. at 248, whereas, here, every record except for the videos

was at least partially released. As to the videos, the First Woods Declaration adequately explains

why no information could be segregated and released. See First Woods Decl. ¶ 64 (explaining

that, unlike the photographs, the videos do not contain a text overlay or a title page with

releasable information such as the year, videographer, licensee name, or number”).




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                                     CONCLUSION

      For the reasons set forth above, Defendants respectfully requests that this Court grant

summary judgment in favor of Defendants and deny Plaintiff’s Motion for Summary Judgment.

                                          Respectfully submitted,

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